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   1   Jeffrey B. Harris, Esq. (SBN 202422)
       jharris@klhipbiz.com
   2   John S. Kyle, Esq. (SBN 199196)
       jkyle@klhipbiz.com
   3   KYLE HARRIS LLP
       2305 Historic Decatur Road, Suite 100
   4   San Diego, CA 91206
       Tel: (619) 600-0086
   5
       Attorneys for Defendants
   6   DRP HOLDINGS, LLC; INLAND
       VALLEY INVESTMENTS, LLC;
   7   PROMENADE SQUARE, LLC
   8

   9                       UNITED STATES DISTRICT COURT
  10                    SOUTHERN DISTRICT OF CALIFORNIA
  11

  12   BORREGO COMMUNITY HEALTH                 CASE NO. 3:21-CV-01417-AJB-AGS
  13   FOUNDATION, a California non-
       profit public benefit corporation,        NOTICE OF WITHDRAWAL OF
  14                                             DOCUMENT NO. 43
  15                Plaintiff,

  16   v.
  17
       INLAND VALLEY INVESTMENTS,
  18   LLC, a California limited liability       Hon. Anthony J. Battaglia
  19   company; DRP HOLDINGS, LLC, a
       California limited liability company;
  20   PROMENADE SQUARE, LLC, a
  21   California limited liability company;
       WILL LIGHTBOURNE, Director,
  22   California Department of Healthcare
  23   Services; and DOES 1 through 50,
       inclusive,
  24

  25                Defendants.
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  28

                            NOTICE OF WITHDRAWAL OF DOCUMENT NO. 43
                                  CASE NO. 3:21-CV-01417-AJB-AGS
       Complaint
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                                                                                 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                                                 2         PLEASE TAKE NOTICE THAT Defendants DRP Holdings, LLC; Inland
                                                                                 3   Valley Investments, LLC; and Promenade Square, LLC (“Defendants”) hereby
                                                                                 4   withdraw Document Number 43, the Notice of Appearance of B. Harris as Counsel
                                                                                 5   of Record for Defendants. Defendants will re-file the Notice of Appearance of
                                                                                 6   Jeffrey B. Harris per the Court’s instruction.
                                                                                 7

                                                                                 8   Dated: February 1, 2023             KYLE HARRIS LLP
                                                                                 9

                                                                                10                                       By:     /s/John S. Kyle
                                                                                11
                                                                                                                               Jeffrey B. Harris, Esq.
                                                                                                                               John S. Kyle, Esq.
                  2305 HISTORIC DECATUR ROAD, SUITE 100




                                                                                12
                                                                                                                               KYLE HARRIS LLP
                                                                                                                               Attorneys for Defendants
                                                          SAN DIEGO, CA 92106




                                                                                13                                             DRP HOLDINGS, LLC; INLAND
KYLE HARRIS LLP




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                                                                                                                               VALLEY INVESTMENTS, LLC; and
                                                                                                                               PROMENADE SQUARE, LLC
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                                                                                                           NOTICE OF WITHDRAWAL OF DOCUMENT NO. 43
                                                                                                                 CASE NO. 3:21-CV-01417-AJB-AGS
